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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION


                           CASE NO. 09-60276-CIV-COHN/SELTZER

    DHL EXPRESS (USA), INC., an Ohio
    corporation,

             Plaintiff,
    v.

    EXPRESS SAVE INDUSTRIES, INC., a New
    York Corporation, JOHN DOES 1-50,

             Defendants.
    _______________________________________________/


             PLAINTIFF DHL EXPRESS (USA), INC.’S MOTION TO COMPEL
             APPEARANCE OF DEFENDANT EXPRESS SAVE INDUSTRIES,
                    INC. AT DEPOSITION (FED. R. CIV. P. 30(b)(6))

             Plaintiff DHL Express (USA), Inc. (“DHL”) moves to compel the appearance of

    defendant Express Save Industries, Inc. (“Express Save” or “ESI”) at deposition. Having

    been served with a timely deposition notice under Rule 30(b)(6) of the Federal Rules of

    Civil Procedure, Express Save has refused to produce a witness to testify on behalf of the

    corporation without valid justification. The Court should enter an Order compelling

    Express Save to appear at a 30(b)(6) deposition and compensating DHL for the costs and

    fees associated with filing this Motion, pursuant to Rule 37(a)(5)(A) of the Federal Rules

    of Civil Procedure.

                                   STATEMENT OF FACTS

             On September 3, 2009, DHL properly noticed the 30(b)(6) deposition of Express

    Save. (Declaration of D. Barclay Edmundson in Support of DHL’s Motion to Compel


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    30(b)(6) Deposition (“Edmundson Decl.”), Exh. A.) Express Save’s counsel, however,

    informed DHL that it had no intention of producing a witness for deposition because its

    designated corporate representative witness, Mr. John Abdo, had already been deposed in

    his individual capacity. (Edmundson Decl., Exh. B.)

             DHL’s counsel met and conferred with Express Save’s counsel on this matter

    twice, the most recent conference occurring on September 10, 2009. (Edmundson Decl. ¶

    2.) During those conferences, DHL offered suggestions that would reduce the alleged

    burden on Express Save to appear for deposition. (Edmundson Decl. ¶ 3.) Express Save

    rejected each of DHL’s suggestions and refused to produce a witness on the improper

    basis stated above. (Id.) The Court should compel Express Save’s appearance at a

    30(b)(6) deposition.

    THE COURT SHOULD ORDER EXPRESS SAVE TO APPEAR FOR DEPOSITION

             The Court should compel Express Save to appear for a deposition because the law

    does not allow a party to refuse to appear for a 30(b)(6) deposition on the grounds that

    the corporate designee was previously deposed in his individual capacity.

             1. A Designated Officer, Director, or Managing Agent Must Testify on

                 Behalf of Express Save

             Express Save, a corporation, must be deposed by designating “one or more

    directors, or managing agents, or [] other persons who consent to testify on its behalf.”

    Fed. R. Civ. P. 30(b)(6). A deposition of a corporation under Rule 30(b)(6) is different

    than a deposition of an individual. While an individual deponent’s testimony can be

    given certain evidentiary weight at trial, only a corporation’s Rule 30(b)(6) designee can

    “testify on [the corporation’s] behalf.” Id.




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             It is not sufficient for DHL to depose John Abdo in his individual capacity, as

    Express Save has suggested. (See Edmundson Decl., Exh. B.) DHL is entitled to depose

    Express Save in its corporate capacity in order to determine the totality of Express Save’s

    knowledge as an entity, and to obtain admissions from the corporation See, e.g., United

    States v. Taylor, 166 F.R.D 356, 362 (M.D.N.C. 1996); Spring Comm’ns Co., L.P. v.

    Theglobe.com, Inc., 236 F.R.D. 524 (D. Kan. 2006); Reilly v. NatWest Markets Group

    Inc., 181 F.3d 253, 268 (2d Cir. 1999) (corporation bound by 30(b)(6) deponent’s

    testimony, cannot later choose a “more knowledgeable” witness at trial).

             2. As “The Corporation Has Yet to Testify,” Express Save Must Be

                 Compelled to Appear for Deposition

             When Express Save’s counsel informed DHL that Express Save would not be

    appearing for its duly-noticed deposition, it provided no authority for its position. No

    such authority exists, as Judge Ryskamp of this Court wrote in 2008:


             Defendant argues that… [corporate designee] Mr. Ferraro has essentially already
             given a Rule 30(b)(6) deposition. Although Mr. Ferraro’s testimony [may] be
             similar, under the law, a corporate entity is distinct from the individuals who
             control or manage the corporation. . . [t]his Court did not find any case law that
             barred a second deposition of an individual who was first deposed in his
             individual capacity and then called to testify a second time on behalf of the
             corporation. See Ameristar Jet Charter, Inc. v. Signal Composites, Inc., 244 F.3d
             189 (1st Cir. 2001).

    Provide Commerce, Inc. v. Preferred Commerce, Inc., Case No. 07-80185 CIV, 2008 WL

    360588, at *3 (S.D. Fla. Feb. 8, 2008) (emphasis added). The Court then proceeded to

    order the party trying to resist discovery to subject itself to a 30(b)(6) deposition on the

    grounds that “Mr. Ferraro has only testified as an individual and not on behalf of the

    corporation. At this point, the corporation has yet to testify. As such, Plaintiff is entitled

    to the Rule 30(b)(6) discovery.” Id.; see also Beaulieu v. Bd. Of Trustees of the Univ. of



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    W. Fla., No. 3:07cv30/RV/EMT, 2007 WL 4468704, at *2 (N.D. Fla Dec. 18, 2007)

    (“Defendant’s Rule 30(b)(6) witness was testifying as an entity, not as herself, and thus

    the same person was not being deposed twice in this case.”).

             DHL has served a valid and timely 30(b)(6) notice of deposition on Express Save.

    As Express Save has not yet testified, it should be compelled to appear for deposition.

                      REQUEST FOR ATTORNEY’S FEES PURSUANT TO
                       FEDERAL RULE OF CIVIL PROCEDURE 37(a)(5)

             Pursuant to Rule 37(a)(5), undersigned counsel requests reimbursement of the

    costs incurred in having to file this motion, including reasonable attorneys’ fees.

                                          CONCLUSION

             Trial in this matter is rapidly approaching. Calendar call is set for November 25,

    2009, with motions in limine due November 13, 2009. Therefore, DHL respectfully

    requests that the Court enter an Order (i) compelling ESI to appear at a 30(b)(6)

    deposition at a date mutually agreed upon by the parties, but no later than November 10,

    2009, (ii) awarding DHL its costs, including reasonable attorneys’ fees, and (iii) granting

    DHL such other and further relief as the Court deems just and proper.




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    Dated: September 14, 2009               Respectfully submitted,

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                           CERTIFICATE OF GOOD FAITH CONFERENCE
                            UNDER RULE 37(1) AND LOCAL RULE 7.1.A.3

             I hereby certify that counsel for the movant has conferred with all parties or non-

    parties who may be affected by the relief sought in this motion in a good faith effort to

    resolve the issues but has been unable to do so.

                                                       s/Ryan Roman ___________
                                                        Ryan Roman




                                   CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on September 14, 2009, I electronically filed the

    foregoing document with the Clerk of the Court using CM/ECF. I also certify that the

    foregoing document is being served this day on all counsel of record or pro se parties

    identified on the attached Service List in the manner specified, either via transmission of

    Notices of Electronic Filing generated by CM/ECF or in some other authorized manner

    for those counsel or parties who are not authorized to receive electronically Notices of

    Electronic Filing.



                                                       s/Ryan Roman ___________
                                                        Ryan Roman




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